                             UNITED STATES DISTRICT COURT                          Motion GRANTED.
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )
                                              )
               v.                             )        No. 3:10-00163-32
                                              )        JUDGE TRAUGER
[32] KENNETH GADDIE                           )
a/k/a K.G.

                                 MOTION TO REOPEN CASE


       The United States of America (“Government”), by and through the undersigned Assistant

United States Attorney, hereby files this Motion to Reopen the case pertaining to Defendant Gaddie.

In support of this motion, the government submits that the defendant has been arrested on the federal

warrant that was issued on February 18, 2011. The government would further submit that the

defendant is currently in the custody of the United States Marshals Service in Chicago, Illinois, and

should be transported to the Middle District of Tennessee in the near future.


                                                       Respectfully submitted,


                                                       DAVID RIVERA
                                                       Acting United States Attorney for the
                                                       Middle District of Tennessee

                                                       s/ Scarlett M. Singleton
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